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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing
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                                                                                                       IS**?        i1*®;




                                     United States District Court                                          AUG      f d013
                                                                for the
                                                                                                     Clerk, U.S. District Court
                                                       EASTERN District of TEXAS                           Texas Eastern

                  United States of America                        )
                                v.                                 ) Case No.                        4:19-MJ-396
                                                                   )
RAHUL RAMESH JOSHI                                                 )
                            Defendant                              )
                                        ORDER SCHEDULING A DETENTION HEARING


A detention hearing in this case is scheduled as follows:



        United States Courthouse
P ace: 7940 Preston Road                                                  Courtroom No.:       108
          Plano, Texas 75024                                                                  Monday, August 5, 2019
                                                                          Date and Time:
          before Magistrate Judge Kimberly C. Priest Johnson                                  at 10:10 am

         IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:
              Au 1,2019


                                                                                  KIMBERLY C. PRIEST JOHNSON
                                                                                    United States Ma istrate Jud e
                                                                                           Printed name and title
